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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRlCT OF TENNESSEE 05 hug ...2 PH 32 09
WESTERN DIVISION
THQMAS M. GOULD
( CLEFK U.S. i._f'ESWCT CD\M
ANGELA F. ROB ERTS ( W]D C!F LI“\!, i._i:;;\.if~"i'ii$
(
Plaintiff, (
(
v. ( No. 03-2252 DA
(
ALLSTATES FABRICATING (
COMPANY, INC., 1 FKI LOGISTEX, and (
FKI INDUSTRIES INC., (
(
Defendants (
(
(

 

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AMENDED RULE l6(b) SCHEDUL]NG ORDER

 

Pursuant to the status conference order set by Written notice, the following dates
were established by the Parties as the amended dates for:
COMPLETING ALL DISCOVERY 2: May 31, 2006
(a) DOCUMENT PRODUCTION: May 31, 2006

(b) DEPOSITIONS, INTERROGATORIES AND R_EQUESTS FOR
ADMISSIONS: May 31, 2006

(c) EXPERT DISCLOSURE (Rule 26):

(1) DISCLOSUR_E OF PLAI_NTIFF’S RULE 26 EXPERT
INFORMATION: January 12, 2006

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: February 9, 2006

 

1 Allstates Fabricating Company, lnc. is not the proper name of this Defendant. Allstates
Companies, Inc. is the proper name.

2 ALL DISCOVERY MUST BE ISSUED IN TIME TO BE COMPLETED BY THE DISCOVERY
BAR DATE

Th[s document entered on the docket she l
With Rule 58 and/or 79{3} FP.CP on cf

 

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FILING PRETRIAL MOTIONS (INCLUDING MOTIONS FOR SUMMARY
J'UDGMENT): July 27, 2006

OTHER RELEVANT MATTERS:

This trial is expected to last 3-4 days and is SET FOR TRIAL at 9:00 a.rn. on
(not before October 31, 2006). A pretrial conference is set for 8:45 a.m. on (not later
thg October 17, 2006). A joint pretrial order shall be submitted no later than 5:00 p.m.
on (not later than October 10, 2006). Absent good cause shown, the scheduling dates set
by this order Will not be modified or extended

The parties should conduct in-depth discovery consultations prior to filing any
and all discovery motions. All motions with the exception of motions to dismiss or
motions for summary judgment must be accompanied by a certificate of counsel
verifying the parties inability to resolve the dispute.

The proposed m pretrial order should include any stipulated facts, contested
issues of fact and or law, list of Witnesses and exhibits and should be signed by the
attorneys for all the parties.

If a jury trial has been requested, the parties should submit proposed jury
instructions to the Court at the pre-trial conference Failure to present the proposed
instructions may be deemed a waiver with regard to presentation at a later date. If the
action is to be tried by the Judge, the parties Will be required to submit proposed findings
of fact and conclusions of law in place of the proposed jury instructions

IT IS SO ORDERED this 02 day of August, 2005.

B RNICE B. DONALD /
TED srArEs DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 25 in
case 2:03-CV-02252 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

Martin F. ssThompson

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Honorable Bernice Donald
US DISTRICT COURT

